       Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39                                                   Desc:
                         Exhibit Evidence of Insurance Page 1 of 39
Edificio MAPFRE
297 cl. César González, SAN JUAN PR 00918-1739

PO BOX 70333, SAN JUAN PR 00936-8333




               9 de junio de 2023


               ALEXIS RAMIREZ ROSADO Y/O ELSIE ENID BERRIOS
               URB SANTA ROSA
               28-17 CALLE 13
               BAYAMON PR 00959-6562




               Número de Póliza        : 1777238006264
               Fecha Efectividad       : 09-JUN-2023
               Seguro Social           : IND 1777238006264
               Representante
               Autorizado o
               Productor               : JOSE A. MORENO ROMAN
               Prima a Pagar           : $452.00


               Estimado(a)             : ALEXIS RAMIREZ ROSADO Y/O ELSIE ENID BERRIOS



               Queremos felicitarle por su excelente decisión de contar con MAPFRE para su póliza de seguro.
               Estamos seguros que nuestro producto será de su completa satisfacción.

               MAPFRE además pone a su disposición la más amplia gama de seguros Personales, Comerciales,
               Vida y Salud para dar respuesta a todas sus necesidades aseguradoras.

               Si necesita orientación sobre su póliza o alguno de nuestros productos puede comunicarse con su
               Representante Autorizado, Productor o llame a TELEMAPFRE al 787-250-5214 (Area Metro)
               o al 1-888-835-3634 (Isla).

               Le agradecemos la confianza depositada en nosotros como su compañía de seguros. Estamos
               para servirle.


               Cordialmente,




               Presidente y Principal Oficial Ejecutivo




MAPFRE PRAICO INSURANCE COMPANY                           T. (787) 250-6500 F. (787) 250-5370        MAPFRE PAN AMERICAN INSURANCE COMPANY
                                                                 W. www.mapfrepr.com            MAPFRE LIFE INSURANCE COMPANY OF PUERTO RICO


JF_999_BIENV
Rev. 11/2013
            Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39                                                                          Desc:
                              Exhibit Evidence
             MAPFRE PRAICO INSURANCE    COMPANYof Insurance Page 2 of 39
          Una Compañía de Seguros por Acciones en adelante denominada la Compañía
                       PO BOX 70333, SAN JUAN PR 00936-8333
                           T. (787) 250-6500 F. (787) 250-5370
                                  W. www.mapfrepr.com
                                                                                                                                                       Pág./Page    1    de/of    2

                                POLIZA MULTILINEAL PERSONAL / PERSONAL PACKAGE POLICY
                                                   FACTURA / INVOICE

                            ALEXIS RAMIREZ ROSADO Y/O ELSIE ENID BERRIOS                           Póliza / Policy                           1777238006264
Asegurado /
Insured                     URB SANTA ROSA
                            28-17 CALLE 13
                                                                                                   Fecha Factura / Invoice Date              09-JUN-2023
Dirección Postal /          BAYAMON PR 00959-6562                                                  Fecha Corrida / Run Date                  09-JUN-2023
Postal Address
                                                                                                   Expediente / File Number                  AL-ELS-0000
                                                                                                   Núm. Identificación /                     IND 1777238006264
                                                                                                   Identification Number
Acreedor /
                                                                                                   Código Acreedor /
Mortgagee                                                                                          Mortgagee Code
                                                                                                   Núm. Préstamo / Loan Number


Productor /                44941 JOSE A. MORENO ROMAN                                              Comisión / Commission
Producer                   PO BOX 421
Corredor / Broker          BAYAMON PR 00960-0421
Agencia / Agency
                                                                                                   Sucursal / Branch                         BAYAMON

                                      * Claves al dorso/ See reverse side.
          Número de Factura /           Claves / Codes *               Efectividad/              Vencimiento /                    Prima /                   Balance /
            Invoice Number                   Trans.                     Effective                 Expiration                     Premium                    Balance
                 154431385                       NN                    09-JUN-2023                 09-JUN-2024                          $452.00                      $452.00




                                                                       Total a Pagar / Payment Amount :                                   $452.00                       $452.00




              Según reglamentación actual, esta póliza no entra en vigor hasta que el pago de la prima requerida sea recibido. Véase endoso adjunto a la póliza. /
       According to present regulations, this policy will not be in force until the payment of the required premium has been received. See endorsement attached to the policy.


                     DESPRENDA ESTE TALON Y ENVIELO CON SU PAGO / DETACH AND SEND THIS STUB WITH YOUR PAYMENT
T P
A A                     MAPFRE PRAICO INSURANCE COMPANY
L Y              Una Compañía de Seguros por Acciones en adelante denominada la Compañía
                               PO BOX 70333, SAN JUAN PR 00936-8333
O M                               T. (787) 250-6500 F. (787) 250-5370
                                         W. www.mapfrepr.com
N E
                                                                                                           Póliza / Policy
  N                                     ALEXIS RAMIREZ ROSADO Y/O ELSIE ENID BERRIOS                                                        1777238006264
D          Asegurado /                  URB SANTA ROSA
  T        Insured                                                                                         Factura / Invoice                 154431385
E                                       28-17 CALLE 13
           Dirección Postal /           BAYAMON PR 00959-6562                                              Vencimiento del Pago /
           Postal Address                                                                                  Payment Due Date                 09-JUN-2023
P     S
                                                                                                           Total a Pagar /                                    $452.00
A     T                                                                                                    Payment Amount

G     U
                                               Copia del Asegurado                          /                  Insured     Copy
O     B
JF_999_FACTURA (0)
02/06 70158493               1777238006264                     060923             0000045200                  3      154431385                      00070274
              Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39 Desc:2                                                            2
                                                                                     Pág./Page                                                  de/of
                                Exhibit Evidence of Insurance Page 3 of 39
  CLAVES DE TRANSACCION / TRANSACTIONS CODES:

  AD Prima Adicional / Additional Premium
  AJ Ajuste de Póliza / Policy Adjustment
  AP Crédito / Credit
  AT Anulación Total / Total Annulment
  AU Auditoría de Prima / Premium Audit
  CA Cancelación solicitada por Asegurado / Cancellation requested by the Assured
  CB Cancelación solicitada por Banco / Cancellation requested by the Bank.
  CF Cancelación solicitada por Financiera / Cancellation requested by the Finance Company
  CC Cancelación solicitada por Compañía / Cancellation requested by the Company
  CP Cancelación por falta de pago / Cancellation for non payment of premium
  ES Estado Situación / Balance Statement
  NN Negocio Nuevo / New Business
  RE Reinstalación / Reinstatement
  RF Renovación / Renewal




  DIVULGACION PARA TRANSFERENCIA DE FONDOS ELECTRONICAMENTE / DISCLOSURE FOR ELECTRONIC FUNDS TRANSFER

  ENVIANDONOS UN CHEQUE COMO PAGO DE SU CUENTA, USTED AUTORIZA A MAPFRE | PUERTO RICO LA CONVERSION DE CHEQUES PARA SER
  TRANSFERIDOS ELECTRONICAMENTE O MEDIANTE DRAFT COMO ENTRADA DE DEBITO EN EFECTIVO TIPO ACH O DRAFT A LA CUENTA DE MAPFRE | PUERTO
  RICO. ADEMAS USTED SE COMPROMETE A CUMPLIR CON LAS REGLAS DE N.A.C.H.A. Y EN EL EVENTO QUE EL EFECTIVO O CHEQUE SEA DEVUELTO POR
  FALTA DE FONDOS, SE COMPROMETE A PAGAR DICHOS RECHAZOS, MAS IMPUESTOS, INTERESES Y CARGOS MAXIMOS APLICABLES POR LEY. POR FAVOR,
  SOMETA SU PAGO CON EL CUPON DE PAGO Y ESCRIBA EL NUMERO DE POLIZA EN EL CHEQUE.

  BY SENDING US A CHECK IN PAYMENT ON YOUR ACCOUNT, YOU AUTHORIZE US THE CONVERSION OF CHECKS TO ELECTRONIC FUNDS TRANSFER OR
  DRAFTS FOR SUBMISSION AS ACH DEBIT ENTRY OR DRAFT TO MAPFRE | PUERTO RICO ACCOUNT. ALSO YOU AGREE TO BE BOUND TO N.A.C.H.A. RULES AND
  AGREE IN THE EVENT ITEMS OR CHECKS RETURN UNPAID, TO PAY RETURNED ITEMS, PLUS APPLICABLE TAXES, INTEREST AND THE MAXIMUM RETURNED
  CHECK FEES ALLOWED BY LAW. PLEASE SUBMIT YOUR PAYMENT WITH THE PAYMENT COUPON AND WRITE DOWN THE POLICY NUMBER IN THE CHECK.


  ** AVISO / DISCLAIMER.

  MAPFRE PUERTO RICO NO SE RESPONSABILIZA POR COSTOS ADICIONALES QUE SU PROVEEDOR DE TELEFONÍA LE PUEDA INCURRIR POR
  MENSAJES DE TEXTO, TRANSFERENCIA DE DATOS O MINUTOS DE VOZ.

  MAPFRE PR WILL NOT BE RESPONSIBLE FOR ADDITIONAL COSTS YOUR PHONE PROVIDER MAY CHARGE YOU FOR TEXT MESSAGES, DATA TRANSFER OR
  VOICE MINUTES.




  Método de Impresión / Printing Method: Póliza / Suplemento: 1777238006264 / 0


                             CORTE ESTE TALON Y ENVIELO SI CAMBIA SU DIRECCION POSTAL / DETACH AND SEND THIS STUB FOR CHANGE ADDRESS

NUMERO DE POLIZA /                                                                                                SEGURO SOCIAL (ULT 4 DIG) /
POLICY NUMBER                                                                                                     SOCIAL SECURITY (LST 4 DIG)

 NOMBRE /
 NAME

 CALLE Y NUMERO /
 STREET AND NUMBER

CIUDAD Y ESTADO /
CITY AND STATE

CODIGO POSTAL /
ZIP CODE

NUMERO TELEFONO /                                                                                             Movil Si /
TELEPHONE NUMBER                                                                                              Mobile Yes           *
 CORREO ELECTRON. /
 E-MAIL                                                                                                                                                 *
* Marque para recibir mensajes por este medio. / Check if you agree to receive messages through this means. ** Ver Aviso / See Disclaimer.
Fecha/Date:                                                             Firma del Cliente/Client Signature:
              Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39                                                                    Desc:
                                Exhibit Evidence of Insurance Page 4 of 39
               MAPFRE PRAICO INSURANCE COMPANY
           Una Compañía de Seguros por Acciones en adelante denominada la Compañía
                               PO BOX 70333, SAN JUAN PR 00936-8333
                                                                                                                                                             Pag.   1      de   1


                                          POLIZA MULTILINEAL PERSONAL - DECLARACIONES

 Asegurado                    ALEXIS RAMIREZ ROSADO Y/O ELSIE ENID BERRIOS                         Póliza                                1777238006264
 Dirección Postal             URB SANTA ROSA
                                                                                                   Fecha Efectividad
                              28-17 CALLE 13                                                                                             09-JUN-2023
                                                                                                   12:01 AM Hora Oficial
                              BAYAMON PR 00959-6562
                                                                                                    Fecha de Vencimiento
                                                                                                   12:01 AM Hora Oficial                 09-JUN-2024


Productor/                    44941 JOSE A. MORENO ROMAN                                           Póliza Anterior
Corredor/Agencia              PO BOX 421
Dirección Postal              BAYAMON PR 00960-0421                                                Num. Expediente                       AL-ELS-0000

                                                                                                    Num. Identificación                  IND 1777238006264

 Nosotros proveeremos el seguro descrito en esta póliza a cambio de la prima del cumplimiento de todas las disposiciones aplicables de la póliza.
 Esta póliza consiste de las cubiertas donde se indica una prima. Esta prima puede estar sujeta a cambios.




                                    Cubiertas Aseguradas                                                                                                   Primas

 SECCION I            -   SEGURO AUTOMOVIL PERSONAL                                                                                                                     $ .00


 SECCION II           -   SEGURO DE VIVIENDA                                                                                                                        $422.00


 SECCION III      -       RESPONSABILIDAD CIVIL PERSONAL                                                                                                                $ .00


 SECCION IV       -       YATE PERSONAL                                                                                                                                 $ .00


 SECCION V        -       UMBRELLA PERSONAL                                                                                                                             $ .00


 SECCION VI       -       SEGURO DE MASCOTA                                                                                                                             $ .00


 SECCION VII      -       SEGURO MISCELANEOS                                                                                                                         $30.00


 ** AJUSTE PRIMA MINIMA                                                                                                                                                 $ .00



(Descuento Buena Experiencia              $0.00        incluido)                                                           Prima Total                              $452.00




                               Número y fecha de edición de los formularios y endosos adheridos a esta póliza al momento de emitirse




 Esta póliza entrará en vigor a las 12:01 A.M. hora oficial de la fecha de efectividad en                Usuario - Oficina          TRW777 - SAN JUAN I
 la dirección del asegurado nombrado tal y como aquí se indica.
 Esta póliza no será válida a menos que esté refrendada por un agente autorizado.


         En      SAN JUAN        Puerto Rico      09-JUN-23   , refrendada por:

                                                                                                  Alexis Sánchez Geigel -       Presidente y Principal Oficial Ejecutivo

 Esta Declaración debe ser complementada por declaraciones, formularios y endosos aplicables para cada sección de las cubiertas.




JF_777_DECLA     (0)                                               T. (787) 250-6500 F. (787) 250-5370
07/10 70158497                                                            W. www.mapfrepr.com
           Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39                                                         Desc:
                             Exhibit Evidence of Insurance Page 5 of 39
            MAPFRE PRAICO INSURANCE COMPANY
          Una Compañía de Seguros por Acciones en adelante denominada la Compañía
                          PO BOX 70333, SAN JUAN PR 00936-8333
                                                                                                                                                Pag.    1   de   3


                                 POLIZA MULTILINEAL PERSONAL - SECCION II SEGUROS DE VIVIENDA

Asegurado               ALEXIS RAMIREZ ROSADO Y/O ELSIE ENID BERRIOS                            Póliza                     1777238006264
Dirección Postal        URB SANTA ROSA
                                                                                                Fecha Efectividad
                        28-17 CALLE 13                                                                                     09-JUN-2023
                                                                                                12:01 AM Hora Oficial
                        BAYAMON PR 00959-6562
                                                                                                Fecha de Vencimiento
                                                                                                12:01 AM Hora Oficial      09-JUN-2024


Productor/              44941 JOSE A. MORENO ROMAN                                              Póliza Anterior
Corredor/Agencia        PO BOX 421
                        BAYAMON PR 00960-0421                                                   Num. Expediente            AL-ELS-0000

                                                                                                Num. Identificación        IND 1777238006264




  Se provee seguro únicamente para aquellos peligros y sólo para aquellas cubiertas indicadas abajo y por las cuales se ha cargado una prima y contra
  otros peligros o para otras cubiertas, sólo cuando fuere indicado o hecho formar parte de esta póliza.


                                                       DESCRIPCION Y LOCALIZACION DEL RIESGO # 1

    SOBRE UN EDIFICIO RESIDENCIAL DE 1 PLANTA(S), OCUPADO,
    PARA 1 FAMILIA(S), CONSTRUIDO DE MATERIAL RESISTENTE AL FUEGO.
    URB SANTA ROSA
    CALLE 13 BLQ 28 #17
    BAYAMON PR 00959-1847


   Coaseguro aplicable es 100% para Peligros Asegurados excepto Terremoto y 100% para Terremoto y Erupción Volcánica.

                                                                                                          PELIGROS
            CUBIERTA ASEGURADA                               SUMA ASEGURADA                              ASEGURADOS              PRIMAS DE PROPIEDAD

                                                Peligros Asegurados      Terremoto y                                                  A                    C
                                                Excepto Terremoto y      Erupción Volcánica                                       Vivienda             Propiedad
                                                Erupción Volcánica                                                                                      Personal

       A. VIVIENDA                                 $        160,000        $          160,000       FUEGO                     $            17      $                 2

       B. OTRAS ESTRUCTURAS                        $                       $                        CUBIERTA AMPLIADA         $          128       $             41

                                                                                                    VANDALISMO O DAÑOS
       C. PROPIEDAD PERSONAL                       $         30,000        $           30,000       MALICIOSOS
                                                                                                                              $                    $

                                                                                                    TERREMOTO Y ERUPCION
       D. VALOR ALQUILER RAZONABLE                 $                       $                                                  $          192       $             27
                                                                                                    VOLCANICA
      E. GASTOS ADICIONALES DE
      VIVIENDA (HASTA 25% POR MES)
                                                   $                       $


                                                                         Prima Vivienda y Propiedad Personal :               $        337.00      $          70.00


                                                                   Prima Total Vivienda + Propiedad Personal :                                    $         407.00


                                                                               Total Prima Cubiertas Adicionales :                                $          15.00




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 09/10 70158501                                                      W. www.mapfrepr.com
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                              Exhibit Evidence
             MAPFRE PRAICO INSURANCE    COMPANYof Insurance Page 6 of 39
         Una Compañía de Seguros por Acciones en adelante denominada la Compañía
                       PO BOX 70333, SAN JUAN PR 00936-8333
                                                                                                                                                        Pag.    2      de   3


                                   POLIZA MULTILINEAL PERSONAL - SECCION II SEGUROS DE VIVIENDA

      Asegurado             ALEXIS RAMIREZ ROSADO Y/O ELSIE ENID BERRIOS                                                  Póliza     1777238006264




     CUBIERTAS ADICIONALES                                                    SUMA ASEGURADA                                                    PRIMAS

                                                Peligros Asegurados Excepto                Terremoto y Erupción Volcánica
                                                Terremoto y Erupción Volcánica
   COSTO REEMPLAZO CUB.C                                    $       30,000                                                                                    15.00

                                                                                            Prima Propiedad Riesgo :          1                           $           422.00


                                                                                          Prima Total de la Sección :                                     $           422.00


                       Número y fecha de edición de los formularios y endosos adheridos a esta póliza al momento de emitirse
04-181 09/12, 04.035 05/05, 04.036 08/98, 26.105 11/18, 04.122 01/99, 04.022 04/00, 04.042 09/00, DP-0344 05/04, DP-0158 07/93, ILN 133 12/05




 Esta póliza entrará en vigor a las 12:01 A.M. hora oficial de la fecha de efectividad                 Usuario - Oficina          TRW777 - SAN JUAN I
 en la dirección del asegurado nombrado tal y como aquí se indica.
 Esta póliza no será válida a menos que esté refrendada por un agente autorizado.

       En        SAN JUAN     Puerto Rico   09-JUN-23     , refrendada por:

                                                                                                 Alexis Sánchez Geigel - Presidente y Principal Oficial Ejecutivo




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09/10 70158501                                                          W. www.mapfrepr.com
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                            Exhibit Evidence
           MAPFRE PRAICO INSURANCE    COMPANYof Insurance Page 7 of 39
         Una Compañía de Seguros por Acciones en adelante denominada la Compañía
                       PO BOX 70333, SAN JUAN PR 00936-8333
                                                                                                                                         Pag.   3   de   3


                                POLIZA MULTILINEAL PERSONAL - SECCION II SEGUROS DE VIVIENDA

      Asegurado        ALEXIS RAMIREZ ROSADO Y/O ELSIE ENID BERRIOS                                           Póliza   1777238006264




                                                                     DEDUCIBLES

  $ 250 para los peligros asegurados excepto                2%     sobre suma asegurada para                   2%    sobre suma asegurada para
 Tormenta de Viento, Huracán o Granizo,                  Tormenta de Viento, Huracán o Granizo ( No         Terremoto y Erupción Volcánica ( No menos
 Terremoto y Erupción Volcánica.                         menos de $ 500 )                                   de        $) 250

     En caso de pérdida cubrimos solamente aquella parte de la pérdida sobre el deducible indicado.

                                                            DEDUCIBLES POR CUBIERTAS

            CUBIERTAS/PELIGROS ASEGURADOS                                  LIMITES DE RESPONSABILIDAD                      DEDUCIBLE
       VIVIENDA
       INCENDIO Y OTROS PELIGROS                                                               160,000                                  250
       TORMENTA DE VIENTO, HURACAN O GRANIZO                                                   160,000                                 3,200
       TERREMOTO                                                                               160,000                                 3,200
       PROPIEDAD PERSONAL
       INCENDIO Y OTROS PELIGROS                                                                   30,000                               250
       TORMENTA DE VIENTO, HURACAN O GRANIZO                                                       30,000                               600
       TERREMOTO                                                                                   30,000                               600




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09/10 70158501                                                      W. www.mapfrepr.com
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                                Exhibit Evidence of Insurance Page 8 of 39
               MAPFRE PRAICO INSURANCE COMPANY
           Una Compañía de Seguros por Acciones en adelante denominada la Compañía
                             PO BOX 70333, SAN JUAN PR 00936-8333
                                                                                                                                                      Pag.    1      de   1


                        POLIZA MULTILINEAL PERSONAL SECCION VII - SEGUROS MISCELANEOS

 Asegurado                   ALEXIS RAMIREZ ROSADO Y/O ELSIE ENID BERRIOS                       Póliza                            1777238006264
 Dirección Postal            URB SANTA ROSA
                                                                                                Fecha Efectividad
                             28-17 CALLE 13                                                                                       09-JUN-2023
                                                                                                12:01 AM Hora Oficial
                             BAYAMON PR 00959-6562
                                                                                                 Fecha de Vencimiento
                                                                                                12:01 AM Hora Oficial             09-JUN-2024


Productor/                   44941 JOSE A. MORENO ROMAN                                         Póliza Anterior
Corredor/Agencia             PO BOX 421
Dirección Postal             BAYAMON PR 00960-0421                                              Num. Expediente                   AL-ELS-0000

                                                                                                 Num. Identificación             IND 1777238006264




                                                                    ASISTENCIA AL HOGAR
   RIESGO                                     LOCALIZACION DE LA(S) PROPIEDAD(ES) CUBIERTA(S)                                                         PRIMA
     1                         URB SANTA ROSA CALLE 13 BLQ 28 #17 BAYAMON PR 00959-1847                                                                           $30.00

                                                                                               Prima Total de la Sección                                          $30.00



                             Número y fecha de edición de los formularios y endosos adheridos a esta póliza al momento de emitirse
  04.020 06/99




 Esta póliza entrará en vigor a las 12:01 A.M. hora oficial de la fecha de efectividad en             Usuario - Oficina      TRW777 - SAN JUAN I
 la dirección del asegurado nombrado tal y como aquí se indica.
 Esta póliza no será válida a menos que esté refrendada por un agente autorizado.


         En       SAN JUAN      Puerto Rico    09-JUN-23   , refrendada por:

                                                                                                Alexis Sánchez Geigel -   Presidente y Principal Oficial Ejecutivo




JF_777_SEGMI     (0)                                            T. (787) 250-6500 F. (787) 250-5370
07/10 70158509                                                         W. www.mapfrepr.com
Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
                  Exhibit Evidence of Insurance Page 9 of 39
Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
                  Exhibit Evidence of Insurance Page 10 of 39
Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
                  Exhibit Evidence of Insurance Page 11 of 39
Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
                  Exhibit Evidence of Insurance Page 12 of 39
Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
                  Exhibit Evidence of Insurance Page 13 of 39
Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
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Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
                  Exhibit Evidence of Insurance Page 15 of 39
Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
                  Exhibit Evidence of Insurance Page 16 of 39
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                  Exhibit Evidence of Insurance Page 17 of 39
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                  Exhibit Evidence of Insurance Page 18 of 39
Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
                  Exhibit Evidence of Insurance Page 19 of 39
Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
                  Exhibit Evidence of Insurance Page 20 of 39
Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
                  Exhibit Evidence of Insurance Page 21 of 39
Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
                  Exhibit Evidence of Insurance Page 22 of 39
       Case:23-01428-MCF11 Doc#:28-12 Filed:06/22/23 Entered:06/22/23 21:45:39                                               Desc:
                         Exhibit Evidence of Insurance Page 23 of 39
                                      POLIZA MULTILINEAL PERSONAL
                                        SECCION II – CUBIERTA DE PROPIEDAD
                                               FORMULARIO BASICO

                                                              CONVENIO
En consideración de la prima y observación de las disposiciones correspondientes de esta póliza, nosotros proporcionamos el
seguro descrito en esta póliza.
                                                            DEFINICIONES

En esta póliza, "usted" y "su", suyo" o "suya" se refieren al "asegurado nombrado" indicado en las Declaraciones, así como al
cónyuge si vive en la misma casa. "Nosotros", "nos" y "nuestro/a" se refieren a la Compañía que proporciona este seguro.

                                                                          3. Negocio” incluye el oficio, profesión u ocupación.
1.     "Asegurado" significa usted y los residentes de su hogar
       que sean:
                                                                          4. “Predio de residencia" significa:
     a. Parientes de usted; o bien,
     b. Otras personas menores de 21 años y que están bajo el                  a.   La vivienda de una familia así como otras estructuras
        cuidado de cualquier persona arriba mencionada.                             y terrenos; o
2. “Empleado de la residencia" significa:                                      b.   La parte de cualquier otro edificio; en donde usted
                                                                                    reside y que aparece como el "predio de residencia"
     a. Un empleado de un "asegurado" cuyos deberes están                           en las Declaraciones.
        relacionados con el mantenimiento o uso del "predio de
        residencia", incluyendo servicios en el hogar o                        "Predio de residencia" también significa una vivienda de
        domésticos; o                                                          dos familias en donde usted reside en por lo menos una de
     b. Un empleado que realice deberes similares en otra parte                las dos unidades y que aparece como “predio de
         no relacionada con el “negocio” de un “asegurado”                     residencia” en las Declaraciones.

                                                             CUBIERTAS

Este seguro aplica a la Localización Descrita, a las Cubiertas            No cubrimos otras estructuras:
para las cuales se indica un Límite de Responsabilidad y a los
Peligros Asegurado para los cuales se estipula una prima.                 1.   usadas total o parcialmente para fines comerciales,
                                                                               fabriles o agrícolas; o
CUBIERTA A – Vivienda                                                     2.   alquiladas o destinadas para alquiler a cualquier persona
                                                                               que no sea inquilino de la vivienda, a menos que se usen
Nosotros cubrimos:                                                             exclusivamente como garaje privado.

1. la vivienda en la Localización Descrita en las                         CUBIERTA C – Propiedad Personal
   Declaraciones, usada principalmente para fines                         Cubrimos la propiedad personal poseída o usada por un
   residenciales, incluyendo las estructuras anexas a la                  “asegurado” en cualquier parte del mundo. A petición de usted,
   residencia;                                                            cubriremos la propiedad personal poseída por:
2. materiales y suministros ubicados en o adyacentes a la
   Localización Descrita, usados para construir, alterar o                1.   Otras personas mientras la propiedad se halla en el
   reparar la vivienda o demás estructuras en la Localización                  “predio de residencia” ocupado por un “asegurado”;
   Descrita; y
                                                                          2.   Un huésped o un “empleado de la residencia”, mientras la
3. si no se cubren distintamente en esta póliza, los equipos de                propiedad se halla en cualquier residencia ocupada por un
   edificio y equipos exteriores usados para servir a la                       “asegurado”.
   Localización Descrita y ubicados ahí.                                  Nuestro límite de responsabilidad por la propiedad personal
Esta cubierta no aplica a los terrenos, inclusive los terrenos en         ubicada normalmente en la residencia de un “asegurado”, que
que está ubicada la vivienda.                                             no sea el “predio de residencia”, es el 10% del límite de
                                                                          responsabilidad de la Cubierta C, o $1,000, la cantidad que sea
CUBIERTA B – Otras Estructuras                                            más alta. La propiedad personal en una residencia principal
Nosotros cubrimos otras estructuras ubicadas en la                        recientemente adquirida no está sujeta a esta limitación
                                                                          durante los 30 días a partir de la fecha en, que usted comience
Localización Descrita, separadas de la vivienda por un espacio
                                                                          a mover la propiedad a dicha residencia.
libre. Esto incluye las estructuras conectadas a la residencia
por solamente una verja, servidumbre pública o conexión                   Límites Especiales. Estos límites no incrementan el límite de
similar.                                                                  responsabilidad de la Cubierta C. El límite especial para cada
                                                                          categoría numerada abajo es el límite total por cada pérdida de
Esta cubierta no aplica a los terrenos, inclusive los terrenos en
que están ubicadas las otras estructuras.
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toda la propiedad en esa categoría.                                                    retiene su capacidad de ser operado por otras
                                                                                       fuentes de energía;
1.   $400 por dinero, billetes de banco, lingotes, oro que no                     b.   Está lejos del “predio de residencia”; y
     sea artículos de oro, plata que no sea artículos de plata,
     platino, monedas y medallas.                                                 c.   Es utilizado en cualquier momento o de cualquier
                                                                                       forma para cualquier propósito de “negocio”.
2.   $2,000 por valores, cuentas, escrituras, evidencias de
     deuda, cartas de crédito, billetes que no sean billetes de                   Aparatos electrónicos incluye:
     banco,      manuscritos,      documentos      personales,                    a.   Accesorios y antenas; o
     pasaportes, boletos y estampillas. Este límite en dólares
     aplica a estas categorías independientemente del medio                       b.   Cintas, alambres, registros, discos, u otros medios;
     (tales como papel o software de computadoras) en los                         Para usarse con cualquier aparato electrónico.
     cuales el material exista.
                                                                             11. $500 para la propiedad cubierta almacenada en
     Este límite incluye el costo de investigar, reemplazar o                    congeladores o refrigeradores en el “predio de
     restaurar la información del material perdido o dañado.                     residencia” por perdida causada por:
3.   $2,000 por embarcaciones, incluyendo sus remolques,                               a.   La interrupción del servicio eléctrico a la unidad
     accesorios, equipos y máquinas o motores fuera de                                      de refrigeración causada por daño al generador
     borda.                                                                                 o al equipo de transmisión; o
4.   $2,000 por remolques no utilizado con embarcaciones.                              b.   La falla mecánica de la unidad que almacena la
5.   $2,000 por pérdida debida a robo de joyería, relojes,                                  propiedad.
     pieles, piedras preciosas semipreciosas.                                     La cubierta aplicará solamente si usted ha mantenido la
6.   $3,000 por pérdida debida a robo de artículos de plata,                      unidad de refrigeración en adecuadas condiciones de
     artículos revestidos de plata, artículos de oro, artículos                   funcionamiento inmediatamente antes de la perdida.
     revestidos de oro y artículos de peltre. Esto incluye                        La exclusión #4. Falla en la Energía de la sección de
     cubiertos, vasijas, juegos de té, bandejas y trofeos                         Exclusiones Generales no aplica a esta cubierta #11.
     hechos de, o incluyendo, plata, oro o peltre.
                                                                             Propiedad No Cubierta. No cubrimos:
7.   $3,000 por propiedad, en el “predio de residencia”, que se
     utilice en cualquier momento o de cualquier forma para                  1.   artículos descritos por separado           y    asegurados
     cualquier propósito de “negocio”;                                            específicamente en este u otro seguro;

8.   $1,000 por propiedad, lejos del “predio de residencia” que              2.   animales, pájaros, ni peces;
     se utilice en cualquier momento o de cualquier forma para               3.   aeronaves, ni piezas. Aeronave significa todo aparato
     cualquier propósito de “negocio”. No obstante, este límite                   usado o diseñado par a volar, excepto aeronaves a
     no aplica a la pérdida de aparatos electrónicos                              escala o de pasatiempos no usados ni diseñados para
     adaptables según descritos en los Límites especiales 9. Y                    transportar personas ni carga;
     10. abajo.
                                                                             4.   vehículos motorizados, ni ningún transporte terrestre
9.   $1,000 por pérdida a aparatos electrónicos, mientras se                      motorizado. Esto incluye:
     encuentren dentro o sobre un vehículo de motor u otro
     transporte terrestre motorizado, el aparato electrónico                      a.   sus equipos y accesorios; o
     está equipado para ser operado por la energía del                            b.   todo dispositivo o instrumento utilizado para
     sistema eléctrico del vehículo o transporte mientras                              transmitir, grabar, recibir o reproducir sonidos o
     retiene su capacidad de ser operado por otras fuentes de                          imágenes que funcione mediante energía del
     energía. Aparatos electrónicos incluye:                                           sistema eléctrico de los vehículos motorizados o de
     a.   Accesorios o antenas; o                                                      los demás transportes terrestres motorizados,
                                                                                       incluyendo:
     b.   Cintas, alambres, registros o discos, u otros medios;
                                                                                       (1) accesorios o antenas; o
     Para usarse con cualquier aparato electrónico.
                                                                                       (2) cintas, alambres, registros, discos o demás
10. $1,000 por pérdida a aparatos electrónicos, mientras no                                medios a usarse con esos dispositivos o
    se encuentren dentro o sobre un vehículo de motor u otro                               instrumentos;
    transporte terrestre motorizado, si el aparato electrónico:
                                                                                  mientras están en o sobre el vehículo o transporte.
     a.   Está equipado para ser operado por la energía del
          sistema eléctrico del vehículo o transportes mientras                   Cubrimos vehículo o transporte que no estén sujetos el
                                                                                  registro de vehículos de motor que sean:


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     a.   usados para servir al “predio de residencia”; o                   adyacente, ocasionados por un Peligro Asegurado en esta
                                                                            póliza, cubrimos la pérdida del Valor de Alquiler Razonable
     b.   diseñados para asistir a los incapacitados;
                                                                            durante un máximo de dos (2) semanas.
5.   datos, inclusive los datos almacenados en:
                                                                            Los plazos indicados más arriba no están limitados por la
     a.   libros de contabilidad, planos ni otros registros de              expiración de esta póliza.
          papel; ni
                                                                            No cubrimos pérdidas ni gastos debido a cancelaciones de
     b.   cintas para el procesamiento electrónico de datos,                contratos o convenios de alquiler.
          alambres, registros, discos ni demás medios de
                                                                            OTRAS CUBIERTAS
          soporte de programación (software).
                                                                            1.   Otras Estructuras. Usted puede usar hasta un 10% del
     No obstante, cubrimos el costo de los medios de registro
                                                                                 límite de responsabilidad de la Cubierta A para una
     o almacenamiento en blanco y de los programas de
                                                                                 perdida ocasionada por Peligro Asegurado a las
     computadoras pre-registrados o pregrabados que se
                                                                                 estructuras descritas en la Cubierta B. El pago bajo esta
     pueden comprar en el mercado al detal;
                                                                                 cubierta reduce el límite de responsabilidad de la
6.   propiedad de huéspedes de cuartos, pensionistas y otros                     Cubierta A en el importe pagado por la misma pérdida.
     inquilinos, excepto la propiedad de huéspedes y
                                                                            2.   Remoción de Escombros.             Pagaremos su gasto
     pensionistas emparentados con un “asegurado”.
                                                                                 razonable por la remoción de:
7.   propiedad en un apartamento regularmente arrendado o
                                                                                 a.   escombros de la propiedad cubierta si la pérdida la
     mantenido para alquiler a otras personas por un
                                                                                      ocasiona un Peligro Asegurado; o
     “asegurado”, excepto según se dispone en Otras
     Cubiertas 11;                                                               b.   cenizas, polvo o partículas de una erupción
                                                                                      volcánica que ha causado un daño directo a un
8.   propiedad arrendada o mantenida para alquiler a otras
                                                                                      edificio o a la propiedad contenida en el edificio.
     personas fuera del “predio de residencia”;
                                                                                 Los gastos de remoción de escombros están incluidos en
9.   tarjetas de crédito o tarjetas de transferencia de fondos, a
                                                                                 el límite de responsabilidad que aplica a la propiedad
     excepción de lo dispuesto en Otras Cubiertas 7.
                                                                                 dañada.
Si usted lleva propiedad personal del “predio de residencia” a
                                                                            3.   Mejoras, Alteraciones y Adiciones. Si usted es uno de
una residencia principal recién comprada aplicará el límite de
                                                                                 los inquilinos de la Localización Descrita usted podrá usar
responsabilidad de la Cubierta C en cada residencia durante
                                                                                 hasta un 10% del límite de responsabilidad de la Cubierta
los treinta (30) días inmediatamente después de que usted
                                                                                 C para una pérdida ocasionada por un Peligro Asegurado
comience a llevar allí la propiedad. Este plazo de tiempo no
                                                                                 a las mejoras, alteraciones y adiciones, hechas o
se extenderá más allá de la expiración de esta póliza. Nuestra
                                                                                 adquiridas por su cuenta para esa parte de la
responsabilidad se limita a la parte del límite de
                                                                                 Localización Descrita que usted usa exclusivamente.
responsabilidad que tenga el valor en cada residencia en
relación con el valor total de la propiedad personal cubierta por                El pago bajo esta cubierta reduce el límite de
esta póliza.                                                                     responsabilidad de la Cubierta C por el importe pagado
                                                                                 por la misma pérdida.
CUBIERTA D – Valor de Alquiler Razonable
                                                                            4.   Cubierta Mundial. Usted podrá usar hasta un 10% del
Si una pérdida a la propiedad descrita en la Cubierta A, B, o C,                 límite de responsabilidad de la Cubierta C para una
por motivo de un Peligro Asegurado bajo esta póliza, ocasiona                    pérdida ocasionada por un Peligro Asegurado para la
que esa parte de la Localización Descrita alquilada a otros o                    propiedad amparada bajo la Cubierta C en cualquier
destinada al alquiler por usted quede inadecuada para su uso                     parte del mundo. Esta cubierta no aplica a propiedad de
normal, nosotros cubrimos su:                                                    huéspedes o de sirvientes, ni a botes de remos o canoas.
Valor de Alquiler Razonable, que significa el valor de alquiler                  El pago bajo esta cubierta reduce el límite de
razonable de esa parte de la Localización Descrita alquilada a                   responsabilidad de la Cubierta C por el importe pagado
otros o destinada para alquiler por usted, menos los gastos                      por la misma pérdida.
que no continúen mientras esa parte de la Localización
                                                                            5.   Valor de Alquiler. Usted puede usar hasta un 20% del
Descrita alquilada o destinada al alquiler no sirva para vivir.
                                                                                 límite de responsabilidad de la Cubierta A para pérdida
El pago se hará por el plazo más corto que sea necesario para                    resultante de valor de alquiler razonable, según descrito
reparar o remplazar la parte de la Localización Descrita                         en la Cubierta D. Pagaremos solamente un 1/12 de este
alquilada o destinada al alquiler.                                               10% por cada mes en que la porción arrendada de la
                                                                                 Localización Descrita permanezca inservible para su uso
Si alguna autoridad civil le prohíbe usar la Localización
                                                                                 normal. El pago bajo esta cubierta reduce el límite de
Descrita como resultado de daños directos a una localización


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     responsabilidad de la Cubierta A por el monto pagado                       c.    Si un “asegurado” no ha satisfecho todos los
     para la misma pérdida.                                                           términos y condiciones de acuerdo con los cuales se
                                                                                      han emitido las tarjetas.
6.   Reparaciones Razonables. En caso que la propiedad
     cubierta sea dañada por uno de los correspondientes                        Todas las pérdidas resultantes de una serie de actos
     Peligros Asegurado, pagaremos los gastos razonables                        cometidos por una persona, o en los que una persona
     que contraiga por concepto de las medidas necesarias                       esté involucrada o implicada, se considerarán como una
     que se tomen exclusivamente para proteger la propiedad                     sola pérdida.
     contra daño adicional. Si las medidas tomadas implican
                                                                                No cubrimos las pérdidas que pudieran resultar del uso
     reparaciones a otra propiedad dañada, pagaremos por
                                                                                en el “negocio” o falta de honradez de un “asegurado”.
     dichas medidas solamente si esa propiedad está cubierta
                                                                                Esta cubierta es un seguro adicional. No se aplica ningún
     por esta póliza y el daño a la propiedad es ocasionado
                                                                                deducible a esta cubierta.
     por uno de los correspondientes Peligros Asegurados.
                                                                                Defensa:
     Esta cubierta:
                                                                                     a.   Podemos investigar y liquidar cualquier
     a.   no aumenta el límite de responsabilidad que aplica a
                                                                                          reclamación o demanda judicial si decidimos que
          la propiedad cubierta;
                                                                                          tal proceder es apropiado. Nuestro deber de
     b.   no le descarga de sus deberes en caso de una                                    defender una reclamación o demanda termina
          pérdida a la propiedad cubierta, conforme se estipula                           cuando la cantidad que pagamos por la pérdida
          en la condición 4.b.                                                            es igual a nuestro Límite de responsabilidad.
7.   Propiedad Removida. Nosotros aseguramos la                                      b.   Si se radica una demanda contra un “asegurado”
     propiedad cubierta contra la pérdida directa por cualquier                           en cuanto a su responsabilidad bajo la cubierta de
     motivo mientras se está removiendo de una propiedad                                  Tarjetas de Crédito o Tarjetas de Transferencia
     amenazada por un Peligro Asegurado y durante un                                      de Fondos, proporcionaremos una defensa, a
     máximo de cinco (5) días durante la remoción.                                        nuestro gasto, mediante un abogado defensor de
                                                                                          nuestra elección.
     Esta cubierta no cambia el límite de responsabilidad que
     aplica a la propiedad que se remueve.                                           c.   Tenemos la opción de defender, a nuestro gasto,
                                                                                          a un “asegurado” o el banco de un “asegurado”
8.   Tarjeta de Crédito, Tarjeta de Transferencia de
                                                                                          contra cualquier demanda de ejecución de pago
     Fondos, Falsificación y Moneda Falsa.
                                                                                          bajo la cubierta de Falsificación.
     Pagaremos, hasta un máximo de $2,000 por:
                                                                                Pagaremos por concepto de pérdida en aquellos casos
     a.   La obligación legal de un “asegurado” de pagar                        en los cuales el asegurado no haya recibido
          como resultado de robo o uso desautorizado de                         remuneración alguna por parte de cualquier Institución
          tarjetas de crédito emitidas o registradas a nombre                   Bancaria o de Tarjetas de Crédito.
          de un “asegurado”;
                                                                           9.   Cargo de Servicio por el Departamento de
     b.   Pérdida resultante del robo o uso desautorizado de                    Bomberos. Nosotros pagaremos hasta un máximo de
          una tarjeta de transferencia de fondos utilizada para                 $500 por su responsabilidad asumida por contrato o
          el depósito, retiro o transferencia de fondos, emitida                convenio en concepto de los cargos del Departamento de
          o registrada a nombre de un “asegurado”;                              Bomberos contraídos cuando se llama a los bomberos a
                                                                                salvar o proteger la propiedad cubierta de un Peligro
     c.   Pérdida a un “asegurado” causada por la
                                                                                Asegurado. No cubrimos los cargos de servicio por el
          falsificación o alteración de algún cheque o
                                                                                Departamento de Bomberos si la propiedad está ubicada
          instrumento negociable; y
                                                                                dentro de los límites de la ciudad, municipalidad o distrito
     d.   Pérdida a un “asegurado” por motivo de haber                          de protección que suministren los bomberos.
          aceptado de buena fe billetes de banco falsos
                                                                                Esta cubierta es un seguro adicional. Ningún deducible
          norteamericanos o canadienses.
                                                                                aplica a esta cubierta.
     No cubrimos el uso de una tarjeta de crédito o tarjeta de
                                                                           10. Lápidas. Pagaremos hasta un máximo de $5,000 por
     transferencia de fondos:
                                                                               lápidas, incluyendo mausoleos, en o fuera de los “predios
     a.   Por un residente de su hogar;                                        de residencia” por pérdidas causadas por un peligro
                                                                               asegurado.
     b.   Por una persona a quien se le haya confiado una
          cualquiera de dichas tarjetas; o                                      Esta cubierta no aumenta los límites de responsabilidad
                                                                                que aplica a la propiedad cubierta dañada.




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11. Inundación. Pagaremos hasta un máximo de $3,000
    por pérdida ocasionada por el peligro de Inundación en el
    “Predio de residencia”.
                                                        PELIGROS ASEGURADOS


A menos que la pérdida esté excluida en las Exclusiones                           c.   rotura u operación de dispositivos para aliviar la
Generales, aseguramos contra la pérdida material directa a                             presión.
la propiedad ocasionada por uno de los Peligros a
                                                                                  Este peligro remplaza el peligro 1B.
continuación:
                                                                             4.   Motín o conmoción civil.
1A. Fuego o rayo.
1B. Explosión Interna, que significa explosión ocurrente en                  5.   Aeronaves, incluyendo misiles y vehículos espaciales
    la vivienda o en otra estructura cubierta en la                               autopropulsados.
    Localización Descrita o en una estructura que contiene
                                                                             6.   Vehículos.
    propiedad personal cubierta.
                                                                                  Este peligro no incluye pérdida:
     Explosión no significa:
                                                                                  a.   causada por un vehículo poseído u operado por
     a.   corto circuito;                                                              usted o por un residente de la Localización
     b.   rotura de cañerías de agua; o                                                Descrita; o
     c.   rotura u operación de dispositivos para aliviar la                      b.   causada por cualquier vehículo a verjas, entradas
          presión. Este peligro no incluye pérdida por                                 para vehículos o aceras.
          explosión de calderas de vapor o cañerías de
          vapor, si son poseídas o arrendadas por usted u                    7.   Humo, que significa daño repentino y accidental
          operadas bajo su control.                                               ocasionado por humo.
Cuando en las Declaraciones se indica una Prima para                              Este peligro no incluye pérdidas causadas por humo de
Cubierta Ampliada, los peligros del 2 al 8 inclusive,                             chimeneas ni de fumigación agrícola o de operaciones
forman parte de los Peligros Asegurados.
                                                                                  industriales.
2.   Tormenta de viento, huracán o granizo.
                                                                             8.   Erupción Volcánica, otras que no sean pérdidas
     Este peligro no incluye pérdidas:                                            ocasionadas por un terremoto, sacudidas terrestres o
     a.   al interior de un edificio ni a la propiedad contenida                  temblores.
          en un edificio ocasionadas por lluvia, nieve,
                                                                                  Cuando se indica una Prima por Vandalismo o Daños
          cellisca, arena o polvo a menos que la fuerza
          directa del viento o del granizo dañe el edificio                       Maliciosos en las Declaraciones, lo siguiente forma
          ocasionando una abertura en el techo o en la pared                      parte de los Peligros Asegurados.
          y la lluvia, nieve, cellisca, arena o polvo entren por
                                                                             9.   Vandalismo o daños maliciosos.
          esta abertura; o
     b.   a la propiedad siguiente si está fuera del edificio:                    Este peligro no incluye pérdidas:

          (1) toldos o marquesinas de lona, metal, plástico o                     a.   a cristales o materiales esmaltados de seguridad
                madera, rótulos o antenas de radio o                                   que constituyen una parte del edificio, a menos que
                televisión exteriores y otras clases de                                sean bloques de cristal;
                antenas, inclusive su alambrado, cables de
                entrada, mástiles o torres; o                                     b.   por pillaje, hurto, escalamiento o ratería, pero
                                                                                       nosotros seremos responsables por daños al
          (2)     botes de remos o canoas.
                                                                                       edificio cubierto causado por escaladores;
3.   Explosión.
     Este peligro no incluye pérdida por explosión de                             c.   a la propiedad en la Localización Descrita si la
     calderas de vapor o cañerías de vapor, si son poseídas                            vivienda ha estado vacante durante más de treinta
     o arrendadas por usted u operadas bajo su control.                                (30) días consecutivos inmediatamente antes de la
                                                                                       pérdida. Una residencia en construcción no se
     Explosión no significa:                                                           considera vacante.
     a.   corto circuito;

     b.   rotura de cañerías; o




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                                                        EXCLUSIONES GENERALES

A.     No aseguramos contra pérdidas ocasionadas directa o                        8. Pérdida Intencional, que significa toda pérdida que surja
       indirectamente por ninguna de las siguientes causas.                          de un acto cometido:
       Dichas pérdidas quedan excluidas independientemente de                        a) por usted o por órdenes suyas o de cualquier persona
       toda otra causa o suceso que contribuya                                          u organización nombrada como asegurado adicional;
       concurrentemente o en el orden que sea a dicha pérdida.                          y
       1.   Ordenanza o Ley, que significa la ejecución de toda                      b) con la intención de ocasionar la pérdida.
            ordenanza o ley que reglamente el uso, construcción,                  9. No cubrimos pérdida de céspedes, plantas, arbustos o
            reparación o demolición de un edificio u otra                            árboles que estén fuera de los edificios.
            estructura, a menos que se estipule específicamente
                                                                                  10. Reclamaciones relacionadas con computadoras y
            en esta póliza.
                                                                                      otros aparatos eléctricos:
       2.   Movimiento de Tierra, que significa, un terremoto,
                                                                                       a.   No pagaremos por la pérdida ocasionada directa
            incluyendo sacudidas terrestres o temblores antes,                              o indirectamente por cualquiera de las siguientes
            durante o después de una erupción volcánica;                                    causas. Tal pérdida no queda cubierta incluso si
            desprendimiento de tierra; flujo de lodo (mudflow);                             cualquier otra causa o acontecimiento ha
            hundimiento, levantamiento o desplazamiento de                                  contribuido a la pérdida, ya sea al mismo tiempo
            tierra; a menos que sea una pérdida directa por                                 o en cualquier secuencia.
            motivo de:
                                                                                            1.   Falla o defecto de:
            a) fuego; o                                                                          a)   Equipo       (hardware),     programas
            b) explosión;                                                                             (software), sistemas operativos, redes o
            y pagaremos entonces solamente por las pérdidas                                           circuitos    integrados   (chips)    de
            consecuentes.                                                                             computadora u otras piezas, equipos o
                                                                                                      sistemas     electrónicos   que    sean
       3.   Daños por Agua, que significa:                                                            propiedad de un "asegurado" o de otros;
            a) Inundación, agua superficial, oleaje, marejada,                                        u
               desbordamiento de una extensión de agua o rocío                                   b)   Otros productos, servicios o funciones
               proveniente de uno de los anteriores, ya sea o no                                      que utilicen o dependan de los
               impulsado por el viento;                                                               productos descritos en el párrafo
                                                                                                      (a)1(a);
            b) agua que retroceda a través del alcantarillado o
               drenaje o que se desborde de un sumidero; o                                       a causa de que uno o mas de estos productos
                                                                                                 no pueda procesar, reconocer, distinguir,
            c) agua por debajo de la superficie del suelo,
               incluyendo el agua que ejerza presión contra o se                                 interpretar o aceptar correctamente una o mas
               filtre o gotee a través de un edificio, acera, entrada                            fechas u horas. Un ejemplo sería un programa
               de vehículos, cimiento, piscina o demás                                           (software) que no pueda aceptar el año 2000;
                                                                                                 o
               estructuras.
                                                                                            2.   Acto u omisión de cualquiera que asesore,
            Está cubierta la pérdida directa por fuego o explosión
            resultante del daño por agua.                                                        diseñe,    estime,  inspeccione,    instale,
                                                                                                 mantenga, repare, restablezca o supervise a
       4.   Falla en la Energía, que significa falla en la energía o                             otros para determinar, rectificar o probar
            demás servicio público si la falla ocurre fuera de la                                problemas reales o potenciales descritos en
            Localización Descrita. Pero si un Peligro Asegurado                                  el párrafo a(1).
            afecta la Localización Descrita, solamente pagaremos
            por esa pérdida consecuente.                                               b.   Si la perdida descrita en el párrafo (a) da lugar a
                                                                                            un peligro asegurado pagaremos solamente por
     5. Negligencia o Descuido, que significa, su negligencia                               la perdida ocasionada por dicho peligro.
        en tomar todas las medidas razonables para salvar y
        preservar la propiedad durante y después de que ocurra                         c.   No pagaremos para:
        la pérdida.
                                                                                            1.   Reparar, restablecer o modificar ningún
     6. Guerra, inclusive la guerra no declarada, guerra civil,                                  producto; ni
        insurrección, rebelión, revolución, actos belicosos por
        fuerzas militares o personal militar, destrucción o                                 2.   Corregir ningún servicio o función realizado
        incautación o uso para fines militares, incluyendo las                                   en ningún producto;
        consecuencias de cualquiera de ellos. La descarga de un                         descrito en el párrafo (a) con el objeto de resolver
        arma nuclear se considerará acto belicoso, aún si fuese                         cualquier falla o defecto descrito en el párrafo (a).
        accidental.
                                                                             B.     No aseguramos contra pérdida a la propiedad descrita en
     7. Riesgo Nuclear, en la medida estipulada en la Cláusula                      la Cubierta A y B ocasionada por cualquiera de los
        de Riesgo Nuclear en las Condiciones.                                       siguientes. No obstante, está cubierta toda pérdida

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     resultante a la propiedad descrita en las Cubiertas A y B                      a) Planificación,     zonificación,          desarrollo,
     que no está excluida ni exceptuada en esta póliza.                                agrimensura, ubicación;
     1.   Condiciones atmosféricas. No obstante, esta                               b) Diseño, especificaciones, mano de obra,
          exclusión aplica solamente si para ocasionar la                              reparación,     construcción,         renovación,
          pérdida las condiciones atmosféricas contribuyen de                          remodelación,  nivelación,    solidificación   o
          algún modo a una de las causas o sucesos excluidos                           compactación;
          en el precedente párrafo uno que produzca la pérdida;
                                                                                    c) Materiales usados en la reparación, construcción,
     2.   Actos o decisiones, inclusive el no obrar o decidir,                         renovación o remodelación; ni
          de toda persona, grupo, organización o cuerpo
          gubernamental;                                                            d) Mantenimiento departe o toda la propiedad, esté o
                                                                                       no esté en el “Predio de residencia”.
     3.   Imperfectos, inadecuados, defectuosos:
                                                                               
                                                             CONDICIONES
1.   Vigencia de la Póliza. Esta póliza aplica solamente a las                      (2) proporcionarnos los expedientes y documentos
     pérdidas que ocurran durante la vigencia de la póliza.                             que solicitemos y permitirnos hacer copias; y
2.   Interés Asegurable y Límites de Responsabilidad. Así                           (3) someterse a interrogatorio bajo juramento, en la
     haya más de una persona que tenga un interés asegurable                            ausencia de cualquier otro asegurado nombrado,
     en la propiedad cubierta, en una pérdida determinada no                            y firmarlo;
     seremos responsables:
                                                                               e.   enviarnos, dentro de los sesenta (60) días después de
     a.   por una cantidad mayor de la del interés de una                           nuestra solicitud, su prueba de pérdida, firmada y
          persona asegurada bajo esta póliza; ni                                    jurada, en que se estipule, según su mejor entender y
                                                                                    conocimiento:
     b.   por más del límite de responsabilidad aplicable.
                                                                                    (1) la hora y causa de la pérdida;
3.   Encubrimiento o Fraude. La totalidad de la póliza será
     anulada si, antes o después de una pérdida, usted:                             (2) su interés y el de los demás en la propiedad
                                                                                        afectada, así como todos los gravámenes contra
     a.   ha encubierto o falsificado intencionalmente algún
                                                                                        la propiedad;
          hecho material o circunstancia;
                                                                                    (3) otros seguros que puedan cubrir la pérdida;
     b.   se ha comportado de modo fraudulento; o
                                                                                    (4) cambios en el título u ocupación de la propiedad
     c.   ha presentado declaraciones falsas; en lo relacionado
                                                                                        durante el plazo de la póliza;
          a esta póliza.
                                                                                    (5) especificaciones de los edificios dañados y
4.   Sus Deberes Después de una Pérdida. En caso de
                                                                                        estimados detallados de las reparaciones;
     pérdidas a la propiedad cubierta, usted debe asegurarse
     de que se cumpla lo siguiente:                                                 (6) el inventario de la propiedad personal dañada,
                                                                                        descrito en el 4c;
     a.   Notificarnos a    nosotros   o   a   nuestro   agente
          oportunamente                                                             (7) los recibos de gastos adicionales de vivienda
                                                                                        contraídos, así como los documentos que
     b.   (1) proteger la propiedad contra daños adicionales;
                                                                                        respalden la pérdida del valor de alquiler
          (2) efectuar las reparaciones razonables y necesarias                         razonable.
          para proteger la propiedad; y
                                                                          5.   Ajuste de Pérdidas. Las pérdidas a la propiedad cubierta
          (3) mantener un registro exacto de los gastos de                     son ajustadas al valor real en efectivo al momento de la
          reparación;                                                          pérdida, pero sin exceder la cantidad requerida para
                                                                               reparar o remplazar la propiedad dañada.
     c.   preparar un inventario de la propiedad personal
          dañada que indique la cantidad, la descripción, el              6.   Pérdida a un Par o a un Juego. Si hay una pérdida a un
          valor real en efectivo y la cantidad de pérdida.                     par o a un juego, podremos elegir:
          Acompañar todas las facturas, los recibos y los
                                                                               a.   reparar o remplazar cualquier pieza para restaurar el
          documentos relacionados que justifiquen las cifras del
                                                                                    par o el juego al valor que tenía antes de la pérdida; o
          inventario;
                                                                               b.   pagar la diferencia entre el valor real en efectivo de la
     d.   con la frecuencia con que razonablemente le
                                                                                    propiedad antes y después de la pérdida.
          exijamos:
                                                                          7.   Remplazo de Cristales. La pérdida por daños a cristales
          (1) mostrar la propiedad dañada;
                                                                               ocasionados por los Peligros Asegurados se liquidará en


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     base del remplazo con material esmaltado de seguridad                           a.   lleguemos a un acuerdo con usted;
     cuando así lo exijan las ordenanzas o la ley.
                                                                                     b.   se registre un fallo final; o
8.   Tasación. Si usted y nosotros no llegamos a un acuerdo
                                                                                     c.   se nos presente un laudo de tasación.
     sobre la cantidad de pérdida, cualquiera de los dos podrá
     solicitar que se ajuste la pérdida mediante tasación. Si ello         14. Abandono de Propiedad.        No tenemos ninguna
     sucediese, cada una de las partes escogerá a un tasador                   obligación de aceptar propiedades que usted haya
     competente, dentro de los veinte (20) días después de                     abandonado.
     haber recibido aviso por escrito de la otra parte. Los dos
                                                                           15. Cláusula Hipotecaria. La                   expresión    “acreedor
     tasadores escogerán a un árbitro. Si no convienen en un
                                                                               hipotecario” incluye el fiduciario.
     árbitro dentro de los quince (15) días, usted o nosotros
     podremos solicitar que la selección sea hecha por un juez                  Si se nombra en esta póliza un acreedor hipotecario, toda
     de un tribunal de registro en el estado en que esté ubicada                pérdida pagadera bajo las Cubiertas A o B será pagada al
     la Localización Descrita. Cada uno de los tasadores                        acreedor hipotecario y a usted, según aparezcan los
     establecerá independientemente la cantidad de la pérdida.                  intereses. Si se nombra a más de un acreedor hipotecario,
     Si los tasadores nos presentan por escrito un informe de                   el orden de pago será el mismo que el orden de
     un acuerdo, la cantidad acordada será la cantidad de la                    precedencia de las hipotecas.
     pérdida. Si no llegan a un acuerdo, remitirán sus
                                                                                Si denegamos a su reclamación, esa denegación no
     diferencias al árbitro. Una decisión en que cualesquiera
                                                                                aplicará a una reclamación válida del acreedor hipotecario,
     dos estén de acuerdo será la cantidad de la pérdida.
                                                                                si el acreedor hipotecario:
     Cada una de las partes:
                                                                                a.   nos avisa de algún cambio en propiedad, ocupación o
         a.   pagará a su propio tasador; y                                          cambio considerable en el riesgo que sea de
                                                                                     conocimiento del acreedor hipotecario.
         b.   compartirá igualmente los demás gastos de la
              tasación y del árbitro.                                           b.   paga, a petición, cualquier prima vencida por esta
                                                                                     póliza, si usted no ha pagado la prima; y
9.   Otros Seguros. Si la propiedad cubierta por esta póliza
     también está cubierta por otro seguro contra fuego,                        c.   presenta una declaración de pérdida, firmada y
     nosotros pagaremos solamente la parte de una pérdida                            jurada, dentro de los sesenta (60) días después de
     causada por un Peligro Asegurado conforme a esta póliza                         recibir nuestro aviso de que usted no lo hizo. Aplican
     que el límite de responsabilidad que corresponda a esta                         al acreedor hipotecario las condiciones de la póliza
     póliza tenga en relación con la cantidad total de seguros                       referentes a Tasación. Demanda contra nosotros y
     contra fuego que cubran la propiedad.                                           Pago por pérdida.
10. Subrogación. Usted puede renunciar por escrito, antes                       Si nosotros decidimos cancelar o no renovar esta póliza, al
    de una pérdida, a todos los derechos de recuperación                        acreedor hipotecario se le dará un aviso previo de por lo
    contra cualquier persona. Si no hay renuncia podremos                       menos diez (10) días antes de que la cancelación o no
    exigir una cesión de todos los derechos de recuperación                     renovación sea efectiva.
    por una pérdida hasta la medida que efectuemos el pago.
                                                                                Si le pagamos una pérdida al acreedor hipotecario y
     Si se procura una cesión, la persona asegurada deberá                      denegamos el pago a usted:
     firmar y entregar todos los documentos relacionados y
                                                                                     a.   quedamos subrogados a todos los derechos del
     cooperar con nosotros.
                                                                                          acreedor hipotecario, concedidos bajo la
11. Demanda Contra Nosotros. No se podrá presentar una                                    hipoteca sobre la propiedad; o
    acción a menos que se hayan satisfecho las disposiciones
                                                                                     b.   a opción nuestra, podremos pagar al acreedor
    de esta póliza y la acción se inicie dentro de un plazo de un
                                                                                          hipotecario la totalidad del principal de la
    año después de la fecha de la pérdida.
                                                                                          hipoteca más los intereses acumulados. En tal
12. Nuestra Opción. Si le damos a usted un aviso por escrito                              caso, recibiremos una cesión y traspaso total de
    dentro de los treinta (30) días después de que recibamos                              la hipoteca y de todos los valores retenidos como
    su prueba de pérdida firmada y jurada, podremos reparar o                             garantía colateral de l adeuda de la hipoteca.
    remplazar cualquier parte de la propiedad dañada con una
                                                                                La subrogación no menoscabará el derecho del acreedor
    propiedad semejante.
                                                                                hipotecario de recuperar la cantidad     total de la
13. Pago de la Pérdida. Nosotros ajustaremos con usted                          reclamación del acreedor hipotecario.
    todas las pérdidas. Le pagaremos a usted a menos que
                                                                           16. Ningún Beneficio al Depositario. No reconoceremos
    en la póliza se nombre a otra persona o éste tenga el
                                                                               ninguna cesión ni otorgaremos ninguna cubierta que
    derecho legal de recibir el pago. La pérdida se pagará
                                                                               beneficie a una persona u organización que retenga,
    sesenta (60) días después de que recibamos su prueba de
                                                                               almacene, o traslade propiedades a cambio de paga,
    pérdida y:

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    independientemente de las demás disposiciones de esta                 18. No Renovación. Podremos optar por no renovar la
    póliza.                                                                   póliza. Para ello, podremos entregarle personalmente, o
                                                                              enviarle por correo a la dirección postal que consta en las
17. Cancelación.
                                                                              Declaraciones, un aviso por escrito, por lo menos treinta
         a.   usted puede cancelar esta póliza en cualquier                   (30) días antes de la fecha de vencimiento de esta póliza.
              momento si nos la devuelve o nos informa por                    El comprobante de envío por correo será prueba suficiente
              escrito la fecha en que la cancelación será                     del aviso.
              efectiva.
                                                                          19. Cláusula de Liberación. Si efectuamos un cambio que
         b.   nosotros podremos cancelar esta póliza                          amplíe la cubierta conforme a esta edición de nuestra
              solamente por las razones indicadas a                           póliza sin que haya prima adicional, ese cambio aplicará
              continuación, informándole por escrito la fecha                 automáticamente a su seguro a partir de la fecha en que
              en que la cancelación será efectiva. Este aviso                 implementemos el cambio en su Estado, provisto que la
              de cancelación se le podrá entregar                             fecha de implementación caiga sesenta (60) días antes de
              personalmente, o enviar por correo a la dirección               o durante el período de la póliza que consta en las
              postal que consta en las Declaraciones.                         Declaraciones.

         El comprobante de envío por correo será prueba                        Esta Cláusula de Liberación no aplica a los cambios
         suficiente del aviso.                                                 implementados debido a la introducción de una edición
                                                                               posterior de nuestra póliza.
         (1) Si usted no ha pagado la prima, podremos
             cancelar en cualquier momento, informándole                  20. Renuncia o Cambio de las Disposiciones de la Póliza.
             por lo menos diez (10) días antes de la fecha en                 Toda renuncia o cambio de alguna disposición de esta
             que la cancelación será efectiva.                                póliza, deberá ser hecha por nosotros por escrito para que
                                                                              sea válida. Nuestra solicitud de una tasación o examen no
         (2) Si esta póliza ha estado en vigor por menos de
                                                                              será renuncia de ninguno de nuestros derechos.
             sesenta (60) días y no es de renovación con
             nosotros, podremos cancelar por cualquier                    21. Cesión. La cesión de esta póliza no será válida a menos
             motivo informándole por lo menos (10) días                       que demos nuestro consentimiento por escrito.
             antes de la fecha en que la cancelación será
                                                                          22. Muerte. Si usted fallece, nosotros aseguramos:
             efectiva.
                                                                               a. a sus representantes legales pero sólo con respecto a
         (3) Si esta póliza ha estado en vigor por sesenta (60)
                                                                                  la propiedad del difunto cubierta por la póliza en el
             o más días, o en cualquier momento si es de
                                                                                  momento del fallecimiento;
             renovación con nosotros, podremos cancelar:
                                                                               b. con respecto a su propiedad, a la persona que tenga la
                  (a) si ha habido alguna falsificación material
                                                                                  debida custodia provisional de la propiedad hasta que
                      de un hecho que, si hubiéramos sabido,
                                                                                  se nombre y califique un representante legal.
                      no hubiéramos expedido la póliza.
                                                                          23. Cláusula de Riesgo Nuclear.
                  (b) si, desde que se expidió la póliza, el
                      riesgo cambió de modo considerable.                      a. “Riesgo Nuclear” significa     cualquier reacción o
                                                                                  radiación nuclear o contaminación, radioactiva, ya
                  Esto se podrá hacer informándole por lo
                                                                                  sean controladas o no controladas, fuere cual fuere el
                  menos treinta (30) días antes de la fecha en
                                                                                  modo en que suceda y toda consecuencia de ellas.
                  que la cancelación será efectiva.
                                                                               b. La pérdida ocasionada por el riesgo nuclear no será
          (4) Si esta póliza se ha suscrito por un período de
                                                                                  considerada pérdida por fuego, explosión o humo,
              más de un año, podremos cancelar por cualquier
                                                                                  inclusive si estos peligros están específicamente
              motivo en el aniversario, informándole por lo
                                                                                  estipulados o distintamente incluidos en los Peligros
              menos treinta (30) días antes de la fecha en que
                                                                                  Asegurados.
              la cancelación será efectiva.
                                                                               c. Esta póliza no aplica a pérdidas ocasionadas directa o
              (a) Cuando se cancele esta póliza, la prima del
                                                                                  indirectamente por el riesgo nuclear, excepto que se
                  período comprendido entre la fecha de
                                                                                  cubre la pérdida directa por fuego resultante del riesgo
                  cancelación y la fecha de vencimiento será
                                                                                  nuclear.
                  rembolsada de modo prorrateado.
                                                                          24. Propiedad Recuperada.          Si usted o nosotros
              (b) Si la prima a devolver no se rembolsa con el
                                                                              recuperamos propiedad por la cual hayamos pagado
                  aviso de cancelación o cuando se nos
                                                                              conforme a esta póliza, usted o nosotros avisaremos al
                  devuelva esta póliza, nosotros la
                                                                              otro acerca de la recuperación. A opción suya, la
                  rembolsaremos dentro de un plazo de
                                                                              propiedad le será devuelta o usted la retendrá o, de lo
                  tiempo razonable después de que sea
                                                                              contrario, pasará a ser de nuestra propiedad. Si la
                  efectiva la fecha de cancelación.
                     (VWH'RFXPHQWRFRQWLHQH0DWHULDOGH,QVXUDQFH6HUYLFHV2IILFH,QF                      3£JLQDGH
                                          'HUHFKRV5HVHUYDGRV,QVXUDQFH6HUYLFHV2IILFH,QF                                        
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    propiedad recuperada le es devuelta o usted la retiene, el
    pago por pérdida será ajustado en base a la cantidad que
    usted recibió por la propiedad recuperada.
25. Período de Erupción Volcánica. Una o más erupciones
    volcánicas que ocurran dentro de un período de setenta y
    dos (72) horas serán consideradas como una sola
    erupción volcánica.




                   (VWH'RFXPHQWRFRQWLHQH0DWHULDOGH,QVXUDQFH6HUYLFHV2IILFH,QF   3£JLQDGH
                                        'HUHFKRV5HVHUYDGRV,QVXUDQFH6HUYLFHV2IILFH,QF                   
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                                                                                          IL N 133 PRS 12 05

        AVISO PARA PUERTO RICO SOBRE TERREMOTO
Los endosos HO 23 53, Terremoto – Puerto Rico y DP 04 96, Terremoto – Puerto Rico, excluyen cobertura para
daños que resulten directa o indirectamente de un maremoto. Un ejemplo de un maremoto es un tsunami. Por lo
tanto, la cobertura bajo estos endosos no incluye pérdidas que resulten directa o indirectamente de un tsunami,
ya sea causado por, resultante de, contribuyente a, o agravado por un terremoto.




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                                                                                            DP 03 44 PRS 05 04


      ESTE ENDOSO CAMBIA LA PÓLIZA. POR FAVOR, LÉALO CUIDADOSAMENTE.

 ENDOSO OBLIGATORIO DE PRIMAS Y CONDICIONES DE CUBIERTA – PUERTO RICO

Por la presente se entiende y se conviene que de conformidad con las reglas aprobadas por el Comisionado de
Seguros de Puerto Rico, la presente póliza queda enmendada según las condiciones y estipulaciones vertidas a
continuación:
1. Primas de Póliza Pagadas en su Totalidad por Usted: Si las primas de esta póliza han de ser pagadas en
   su totalidad por usted y éstas no están sujetas a financiamiento alguno, según lo contemplado en este
   Endoso, la cubierta del seguro será concedida siempre y cuando se haya pagado la prima total a, y ésta se
   haya recibido por, nosotros o nuestro representante autorizado en o antes de la fecha de efectividad indicada
   en las declaraciones de esta póliza. De lo contrario, la póliza entrará en vigor en la fecha en que se haya
   pagado la prima total a, y se haya recibido por, nosotros o nuestro representante autorizado, y procederemos
   según indica la Sección 9 de este endoso.
2. Primas de Póliza Sujetas a Nuestro Plan de Pago Diferido: De nosotros tener disponible algún plan de
   pago diferido debidamente aprobado por el Comisionado de Seguros de Puerto Rico bajo el cual las primas de
   esta póliza serán pagadas, la cubierta será concedida siempre y cuando se haya efectuado el pago inicial o el
   pronto pago bajo dicho plan a, y se haya recibido por, nosotros o nuestro representante autorizado, en o antes
   de la fecha de efectividad reflejada en las declaraciones de esta póliza. De lo contrario, la póliza entrará en
   vigor en la fecha en que se haya efectuado el total del pago inicial o pronto pago a, y el mismo se haya
   recibido por, nosotros o nuestro representante autorizado, y procederemos según indica la Sección 9 de este
   endoso.
3. Primas de Póliza a ser Financiadas como Parte de una Transacción de Financiamiento o
   Arrendamiento: Si las primas de esta póliza están siendo financiadas en su totalidad (y por ende usted no ha
   efectuado pago inicial o pronto pago) en relación con el financiamiento o arrendamiento de una propiedad, la
   cubierta del seguro se concederá a la fecha de efectividad reflejada en las declaraciones de esta póliza
   unicamente si se ha recibido, por nosotros, del banco o institución financiera la correspondiente prima total
   dentro de los treinta (30) días subsiguientes al último día del mes en que la póliza ha de entrar en vigor.
   En la eventualidad de que no se haya recibido por nosotros o nuestro representante autorizado el pago del
   banco o institución financiera para la fecha de vencimiento antes indicada, no se concederá cubierta alguna
   bajo esta póliza y la misma será nula a la fecha en que debió entrar en vigor.
4. Primas de Póliza a ser Financiadas por Institución Financiera o por un Banco: Si las primas de esta
   póliza han de ser financiadas por alguna institución financiera o un banco en una situación no cubierta por la
   Sección 3 que antecede, esta póliza entrará en vigor en la fecha en que se haya recibido, por nosotros o
   nuestro representante autorizado, el pronto pago de un mínimo de 20% de la prima total anual a ser pagada
   por usted, acompañado del correspondiente contrato de financiamiento de primas debidamente firmado.
   En la eventualidad de que la institución financiera o el banco no efectúe el correspondiente pago y dicho pago
   no sea recibido por nosotros o nuestro representante autorizado dentro de los treinta (30) días subsiguientes a
   la fecha de incepción de la póliza, habremos de cancelar la póliza de conformidad con la cláusula de
   cancelación de esta póliza.
5. Primas de Póliza a ser Pagadas por Usted bajo Cuenta Plica: De emitirse esta póliza en relación con el
   financiamiento o arrendamiento de propiedad y las primas de esta póliza habrán de ser pagadas con fondos
   procedentes de una cuenta plica, la cubierta del seguro será concedida en la fecha de efectividad reflejada en
   las declaraciones de esta póliza unicamente si se ha recibido, por nosotros, del banco o institución financiera,
   la correspondiente prima total dentro de los treinta (30) días subsiguientes al último día del mes en que la
   póliza ha de entrar en vigor.
   En la eventualidad de que el pago del banco o institución financiera no sea recibido por nosotros o nuestro
   representante autorizado para la fecha de vencimiento antes indicada, la cubierta de seguros bajo esta póliza
   no será concedida y la misma será nula a la fecha en que debió entrar en vigor.




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6. Primas de Póliza a ser Pagadas Parcialmente con Réditos de Cancelaciones de Seguros de Interés
   Sencillo: Si alguna parte de la prima total de esta póliza ha de ser pagada con réditos de la devolución de
   primas resultantes de una cancelación de póliza o certificado de interés sencillo, esta póliza entrará en vigor
   en la fecha en que se haya pagado a, y se haya recibo por, nosotros o nuestro representante autorizado, la
   cantidad mayor entre las siguientes:
   a. 20% de la prima anual correspondiente a esta póliza, o
   b. La diferencia entre la prima total pagadera bajo esta póliza y los réditos de la devolución de primas
      provenientes de la cancelación de la póliza o certificado de interés sencillo.
   Si esta devolución de prima no es recibida por nosotros o nuestro representante autorizado dentro de los
   sesenta (60) días siguientes al último día del mes en el que esta póliza entró en vigor, nosotros le enviaremos
   a usted un Aviso de Cancelación, de conformidad con la cláusula de cancelación de esta póliza, cuya
   cancelación será efectiva en la fecha en que queden agotadas las primas que usted haya pagado.
7. Prima de Endoso: Los endosos emitidos después de la fecha de incepción de esta póliza concediendo
   seguro adicional y los cuales resulten en alguna prima adicional, no entrarán en vigor hasta tanto la prima total
   adicional de los mismos se haya pagado en su totalidad a, y se haya recibido por, nosotros o nuestro
   representante autorizado. Este procedimiento será seguido si las primas de esta póliza se han pagado en su
   totalidad por usted o si se han financiado por banco o institución financiera. De las primas de esta póliza estar
   sujetas a un plan de pago diferido, dicho endoso no entrará en vigor hasta tanto se haya pagado a, y se haya
   recibido por, nosotros o nuestro representante autorizado, un pronto pago por concepto de la prima adicional
   de conformidad con dicho plan, y de igual manera los pagos subsiguientes bajo el plan se enmiendan para
   incluir aquella parte de la prima adicional para el endoso que quede pendiente de pago.
8. Corrección de Primas: Cualesquiera primas adicionales que se adeuden como resultado de cambios en
   tarifas, clasificaciones, bases de primas o cualesquiera otros ajustes (según determinado por nosotros o por la
   correspondiente organización tarifadora) serán pagadas en su totalidad dentro de los treinta (30) días de la
   fecha de facturación del endoso correctivo. Si el pago correspondiente a esta póliza está sujeto a un plan de
   pago diferido o a un contrato de financiamiento de primas, se deberá pagar a, y se deberá recibir por, nosotros
   o nuestro representante autorizado, un pronto pago por concepto de las primas adicionales, de conformidad
   con dicho plan o contrato de financiamiento, dentro del mismo plazo de treinta (30) días, y de igual manera los
   pagos subsiguientes bajo el plan de pago serán enmendados para incluir la parte no pagada de la prima
   adicional para el endoso. De lo contrario, le enviaremos a usted un Aviso de Cancelación de conformidad con
   la cláusula de cancelación de esta póliza, usando la suma de la prima total original más la prima por el endoso
   correctivo como base para el cómputo de la cantidad de la devolución de la prima, si alguna, que se le adeude
   a usted.
9. Pagos Atrasados: De recibirse el pago después de la fecha de vencimiento indicada, procederemos de la
   siguiente manera:
   a. Para pólizas nuevas (Secciones 1 y 2 antes indicadas) emitiremos un Aviso de Cambio de Fecha de
      Efectividad de Cubierta, indicando:
      (1) que el seguro que se concede bajo la póliza entrará en vigor a partir de la fecha en que se reciba el
          pago de la prima aplicable,
      (2) las fechas enmendadas de incepción y de vencimiento de la póliza que resulten, las cuales serán
          aplazadas por el mismo número de días en que no se concedió cubierta debido al recibo tardío del
          pago de la prima, y
      (3) el correspondiente período durante el cual no se concede cubierta bajo la póliza.
   b. Para endosos de corrección de primas (Sección 8 antes indicada), emitiremos, sujeto a la reglamentación
      aplicable, un Aviso de Reinstalación limitada, indicando:
      (1) que el seguro que se concede bajo la póliza será reinstalado a partir de la fecha en que se reciba el
          pago aplicable de la prima adicional,
      (2) el período durante el cual no se concede cubierta, y
      (3) el monto de la devolución de prima, si alguna, que se le adeude a usted.




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10. Cancelación de Póliza: Cuando se incurre en falta de pago de cualquier prima adeudada en su fecha de
    vencimiento bajo una póliza vigente, nosotros debemos, dentro de los próximos veinte (20) días subsiguientes
    a la fecha de vencimiento, emitir un Aviso de Cancelación de conformidad con las disposiciones de esta
    póliza.
11. Definición de Representante Autorizado: Para fines de este endoso, representante autorizado significa un
    agente general, agente de redacción de pólizas autorizado, o una persona debidamente autorizada por
    nosotros, por escrito, para efectos del cobro de primas.
12. Este endoso obligatorio reemplaza cualesquiera otras condiciones que existan a estos efectos en la póliza al
    que se aneja el presente.




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297 Calle César González, San Juan PR 00918-1739


PO Box 70333, San Juan PR 00936-8333
T 787.250.6500 F 787.250.5370 W www.mapfre.pr




   15 de junio de 2023


   ALEXIS RAMIREZ ROSADO Y/O ELSIE ENID BERRIOS
   URB SANTA ROSA
   28-17 CALLE 13
   BAYAMON PR 00959-6562



   Asegurado:                        ALEXIS RAMIREZ ROSADO Y/O ELSIE ENID BERRIOS
   Número de Póliza:                 1777238006264
   Número de Expediente:             AL-ELS-0000
   Importe:                          $452.00
   Riesgo:                           URB SANTA ROSA BAYAMON 00959-1847


   Estimado(a) señor(a):

   Certificamos que la prima para la póliza de referencia, la cual cubre el término 09 de junio de 2023 al 09 de
   junio de 2024:
      - Nos fue pagada en su totalidad sin haber sido financiada.

   La compañia se reserva el derecho de no proveer cubierta si ocurre una de las siguientes situaciones:

       La póliza ha sido financiada y no se cumple con los acuerdos de pago y la institución solicita su cancelación.
      - El cheque o transacción electrónica por medio de ACH, Visa/Master Card y AMEX con que se efectuó el pago fuera
      rechazado por el banco.


   Cordialmente,




   Sheila Román
   Gerente
   Departamento de Cobros



   Código: 44941 Nombre: JOSE A. MORENO ROMAN
   Sucursal: BAYAMON



                                                 MAPFRE PRAICO INSURANCE COMPANY
                                              MAPFRE PAN AMERICAN INSURANCE COMPANY
                                            MAPFRE LIFE INSURANCE COMPANY OF PUERTO RICO
